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6    AUDREY RENEE BELL
7                             IN THE UNITED STATES DISTRICT COURT
8                           FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                   )   No. 2:07-cr-0047 LKK
10                                               )
                          Plaintiff,             )
11                                               )   ORDER EXCLUDING TIME
            v.                                   )
12                                               )   Judge: Hon. Lawrence K. Karlton
     AUDREY RENEE BELL, et. al.                  )                 (In Chambers)
13                                               )
                          Defendant.             )
14                                               )
15          Following a status conference on September 11, 2007, the court granted the unopposed
16   request for a continuance for the purpose of further discovery, investigation, and defense
17   preparation, made by counsel for defendants Audrey Renee Bell and Sharon Denese Hubbs.
18          This case was therefore scheduled for further status conference on December 18, 2007, at
19   9:30 a.m. Time for trial under the Speedy Trial Act is excluded between September 11, 2007, and
20   December 18, 2007, pursuant to 18 U.S.C. § 3161(h)(8)(A) & (B)(ii) & (iv), Local Codes T-2 &
21   T-4.
22                  IT IS SO ORDERED.
23                                      By the Court,
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     Dated: September 12, 2007
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